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                                                                                  July 7, 2021


Via ECF and Email
The Honorable Margo K. Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
                                                                Re:      United States v. Andre Wilburn
                                                                         19 cr 108 (MKB)
                                                                         Request for Adjournment

          Dear Judge Brodie:

                 A conference in the matter is scheduled for Friday July 14, 2021, at noon. The
          government has informed the Court and counsel that MDC is unable to facilitate Mr.
          Wilburn’s appearance on the 14th. As a result, counsel is requesting that the July 14,
          2021, conference be rescheduled. The parties have agreed to adjourn the status
          conference to a date and time in August 2021 or soon thereafter.

                   For the assistance of the Court, the government has informed counsel that MDC
          facilities status conferences on Monday, Wednesday and Friday at 9:30 a.m., 10:30
          a.m., or noon. To that extent, the government and counsel are available for all time slots
          on August 11th, 13th, 16th, 18th 25th and 30th of 2021.

                  In addition, the parties respectfully request that the time between now and then
          be excluded from the calculation of the Speedy Trial Act time limitations, pursuant to
          Title 18, United States Code, Section 3161(h)(7)(A).

                   The Court’s attention to this request is greatly appreciated.

                                                                                 Regards,

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                                                                                 Carlos M. Santiago, Jr.

                   cc:     AUSA Virginia Nguyen
